     Case 4:92-cr-04013-WS-CAS     Document 2156      Filed 09/19/16   Page 1 of 2




                                                                              Page 1 of 2


            IN THE UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF FLORIDA
                       TALLAHASSEE DIVISION




UNITED STATES OF AMERICA,

v.                                                         4:92cr4013–WS/CAS

PATRICK HOWELL,                                            4:16cv447–WS/CAS

       Defendant.



               ORDER ADOPTING THE MAGISTRATE JUDGE’S
                   REPORT AND RECOMMENDATION

       Before the court is the magistrate judge's report and recommendation (doc.

2155) docketed August 15, 2016. The magistrate judge recommends that the

defendant's motion to vacate, set aside, or correct sentence (doc. 2153) be

dismissed for lack of jurisdiction. The defendant has filed no objections to the

report and recommendation.

       Upon review of the record, this court has determined that the magistrate

judge’s report and recommendation should be adopted.

       Accordingly, it is ORDERED:
   Case 4:92-cr-04013-WS-CAS      Document 2156      Filed 09/19/16   Page 2 of 2




                                                                           Page 2 of 2


      1. The magistrate judge's report and recommendation (doc. 2155) is hereby

ADOPTED and incorporated by reference into this order.

      2. The defendant's § 2255 motion to vacate, set aside, or correct sentence

(doc. 2153) is DISMISSED for lack of jurisdiction.

      3. A certificate of appealability is DENIED.

      4. The clerk shall close Case No. 4:16cv447–WS/CAS.

      5. The clerk shall enter judgment stating: "The defendant's § 2255 motion to

vacate, set aside or correct sentence is DISMISSED for lack of jurisdiction."

      DONE AND ORDERED this            19th    day of      September     , 2016.




                                s/ William Stafford
                                WILLIAM STAFFORD
                                SENIOR UNITED STATES DISTRICT JUDGE
